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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

MATTHEW CONSTANT,                 )
                                  )
     Plaintiff,                   )
                                  )
     v.                           )                     No. 2:19-cv-219
                                  )
CREDIT FIRST NATIONAL ASSOCIATION,)
                                  )
     Defendant.                   )

                                PLAINTIFF’S COMPLAINT

      Plaintiff, MATTHEW CONSTANT (“Plaintiff”), by and through his attorneys, Hormozdi

Law Firm, LLC, alleges the following against Defendant, CREDIT FIRST NATIONAL

ASSOCIATION (“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

      U.S.C. § 227, et seq. (“TCPA”).

   2. Count II of Plaintiff’s Complaint is based on the Florida Consumer Collection Practices

      Act, Fla. Stat. § 559.72 (“FCCPA”).

                               JURISDICTION AND VENUE

   3. This court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337, and 1367.

   4. This court has federal question jurisdiction because this case arises out of violations of

      federal law. 47 U.S.C. § 227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

   5. This court has supplemental jurisdiction over the state law claim alleged herein pursuant

      to 28 U.S.C. § 1367(a) because it is “so related to claims in the action within such

      original jurisdiction that they form part of the same case or controversy.”
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 6. Venue and personal jurisdiction in this District are proper because Defendant does or

    transacts business within this District, and a material portion of the events at issue occurred

    in this District.

                                         PARTIES

 7. Plaintiff is a natural person residing in Punta Gorda, Charlotte County, Florida.

 8. Plaintiff is a consumer as that term is defined by the FCCPA.

 9. Plaintiff allegedly owes a debt as that term is defined by the FCCPA.

 10. Defendant is a debt collector as that term is defined by the FCCPA.

 11. Plaintiff is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

    153(39).

 12. Defendant is, and at all times mentioned herein, a “person” as defined by 47 U.S.C. §

    153(39).

 13. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

 14. Defendant is a national bank headquartered in Brook Park, Cuyahoga County, Ohio.

 15. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

    account balances.

 16. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                              FACTUAL ALLEGATIONS

 17. Defendant is attempting to collect a consumer debt from Plaintiff.

 18. The alleged debt owed by Plaintiff arises from transactions for personal, family, and

    household purposes.

 19. In or around November 2018, Defendant began calling Plaintiff on Plaintiff’s cellular
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    telephone, at xxx-xxx-3967, in an attempt to collect the alleged debt.

 20. Defendant calls Plaintiff from several telephone numbers, including 941-200-3373 and

    855-609-8873, which are two of Defendant’s telephone numbers.

 21. On or about November 13, 2018, Plaintiff first answered one of Defendant’s collection

    calls and told Defendant’s collectors to stop calling Plaintiff.

 22. Despite Plaintiff’s request that Defendant stop calling him, Defendant continued to call

    Plaintiff unabated in an attempt to collect on the alleged debt.

 23. During the above-referenced collection call, Plaintiff also requested that Defendant’s

    collector identify themselves and where they were calling from. In response, Defendant’s

    collector refused.

 24. Defendant calls Plaintiff at an annoying and harassing rate.

 25. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

    telephone number.

 26. Defendant has never had Plaintiff’s prior express consent to call his cellular telephone with

    an automatic telephone dialing system.

 27. Even if Defendant somehow had Plaintiff’s consent, such consent was revoked when

    Plaintiff told Defendant’s collectors to stop calling him.

 28. Defendant continued to call Plaintiff’s cellular telephone after Defendant knew Plaintiff

    wanted the calls to stop.

 29. Within four (4) years of Plaintiff filing this Complaint, Defendant used an automatic

    telephone dialing system to call Plaintiff’s cellular telephone.

 30. When Plaintiff answered Defendant’s calls, he was greeted with “dead air” whereby no

    person was on the other end of the line. After several seconds, an agent was connected to
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    the automated call then sought to speak with Plaintiff in an attempt to collect an alleged

    debt.

 31. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

    capacity to store telephone numbers.

 32. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

    capacity to call stored telephone numbers automatically.

 33. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

    capacity to call stored telephone numbers without human intervention.

 34. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

    capacity to call telephone numbers in sequential order.

 35. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

    capacity to call telephone numbers randomly.

 36. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

    telephone numbers to be called according to a protocol or strategy entered by Defendant.

 37. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

    simultaneously calls multiple consumers.

 38. Defendant’s calls constitute calls that are not for emergency purposes as defined by 47

    U.S.C. § 227(b)(1)(A).

 39. The dead air that the Plaintiff experienced on the calls that he received is indicative of the

    use of an ATDS. This “dead air” is commonplace with autodialing and/or predictive

    dialing equipment.      It indicates and evidences that the algorithm(s) being used by

    Defendant’s autodialing equipment to predict when the live human agents are available for

    the next call has not been perfected and/or has not been recently refreshed or updated.
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    Thus, resulting in the autodialer placing a call several seconds prior to the human agent’s

    ability to end the current call he or she is on and be ready to accept the new connected call

    that the autodialer placed, without human intervention, to Plaintiff. The dead air is

    essentially the autodialer holding the calls it placed to Plaintiff until the next available

    human agent is ready to accept them. Should the calls at issue been manually dialed by a

    live human being, there would be no such dead air as the person dialing Plaintiff’s

    telephones would have been on the other end of the call the entire time and Plaintiff would

    have been immediately greeted by said person.

 40. As a result of Defendant’s alleged violations of law by placing these automated calls to

    Plaintiff’s cellular telephone without prior express consent, Defendant caused Plaintiff

    harm and/or injury such that Article III standing is satisfied in at least the following, if not

    more, ways:

            a. Invading Plaintiff’s privacy;
            b. Electronically intruding upon Plaintiff’s seclusion;
            c. Intrusion into Plaintiff’s use and enjoyment of his cellular telephone;
            d. Impermissibly occupying minutes, data, availability to answer another call, and
            various other intangible rights that Plaintiff has as to complete ownership and use
            of his cellular telephone; and
            e. Causing Plaintiff to expend needless time in receiving, answering, and attempting
            to dispose of Defendant’s unwanted calls.

                          COUNT I:
 DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

 41. Defendant’s conduct violated the TCPA by:

        a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

            automatic telephone dialing system and/or pre-recorded or artificial voice without

            consent in violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

    WHEREFORE, Plaintiff, MATTHEW CONSTANT, respectfully requests judgment be
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entered against Defendant, CREDIT FIRST NATIONAL ASSOCIATION, for the following:

   42. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff is entitled

      to and requests $500 in statutory damages, for each and every violation, pursuant to 47

      U.S.C. § 227(b)(3)(B).

   43. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),

      Plaintiff is entitled to and requests treble damages, as provided by statute, up to $1,500, for

      each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

      § 227(b)(3)(C).

   44. Plaintiff is entitled to and seeks injunctive relief prohibiting such conduct in the future.

   45. Any other relief that this Honorable Court deems appropriate.

                                COUNT II:
                         DEFENDANT VIOLATED THE
               FLORIDA CONSUMER COLLECTION PRACTICES ACT

   46. Plaintiff repeats and re-alleges paragraphs 1-40 of Plaintiff’s Complaint as the allegations

      in Count II of Plaintiff’s Complaint.

   47. Defendant violated the FCCPA based on the following:

          a. Defendant violated the § 559.72(7) of the FCCPA by willfully communicating

              with the debtor or any member of his family with such frequency as can reasonably

              be expected to harass the debtor or his family, or willfully engage in other conduct

              which can reasonably be expected to abuse or harass the debtor or any member of

              his family when Defendant attempted to collect a debt from Plaintiff with a barrage

              of robocalls and even continued to do so after being told by Plaintiff to stop calling

              him; and

          b. Defendant violated the § 559.72(15) of the FCCPA by refusing to provide adequate
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                identification of herself or himself or her or his employer or other entity whom she

                or he represents if requested to do so by a debtor from whom she or he is collecting

                or attempting to collect a consumer debt when Defendant’s collectors refused to

                provide the Plaintiff with such identification upon Plaintiff’s request.

       WHEREFORE, Plaintiff, MATTHEW CONSTANT, respectfully requests judgment be

entered against Defendant, CREDIT FIRST NATIONAL ASSOCIATION, for the following:

   48. Statutory damages of $1,000 pursuant to the Florida Consumer Collection Practices Act,

       Fla. Stat. § 559.77;

   49. Costs and reasonable attorneys’ fees pursuant to the Florida Consumer Collection

       Practices Act, Fla. Stat. § 559.77;

   50. Punitive damages and equitable relief, including enjoining Defendant from further

       violations, pursuant to Florida Consumer Collection Practices Act, Fla. Stat. § 559.77(2);

       and

   51. Any other relief that this Honorable Court deems appropriate.

                                               RESPECTFULLY SUBMITTED,


April 9, 2019                          By: /s/ Shireen Hormozdi
                                               Shireen Hormozdi
                                               Hormozdi Law Firm, LLC
                                               1770 Indian Trail Lilburn Road, Suite 175
                                               Norcross, GA 30093
                                               Tel: 678-395-7795
                                               Fax: 866-929-2434
                                               shireen@agrusslawfirm.com
                                               shireen@norcrosslawfirm.com
                                               Attorney for Plaintiff
